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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 IN RE: 100% GRATED PARMESAN CHEESE                        16 CV 5802
 MARKETING AND SALES PRACTICES LITIGATION
                                                           MDL 2705

                                                           Judge Gary S. Feinerman

 This Document Relates to All Cases


  SEVENTH QUARTERLY REPORT REGARDING TIME, COSTS, AND EXPENSES

       Pursuant to the Court’s September 16, 2016 Order (ECF No. 111), Plaintiffs, by and

through undersigned Interim Co-Lead Counsel, submit the following quarterly report regarding

time, costs, and expenses.

       The following charts represent amounts calculated from reports submitted to Interim Co-

Lead Counsel as of July 3, 2018. The charts reflect time, costs, and expenses accrued during the

period from March 1, 2018, through May 31, 2018, as well as the total of time, costs, and expenses

previously reported to the Court. Whether or not time, costs, and expenses shown below will be

incorporated in any future fee petition (which, of course, is subject to Court approval and order)

in this matter is subject to later review by Interim Co-Lead Counsel.


Interim Co-Lead Counsel Firms:

 Lodestar accrued        Costs and expenses    Previously reported        Previously reported
 during 3/1/2018 to      accrued during        lodestar:                  costs and expenses:
 5/31/2018:              3/1/2018 to 5/1/2018:
 $8,943.00               $133.43               $981,063.20                $36,656.85




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Other Plaintiff Firms:

 Lodestar accrued        Costs and expenses    Previously reported    Previously reported
 during 3/1/2018 to      accrued during        lodestar:              costs and expenses:
 5/31/2018:              3/1/2018 to 5/1/2018:
 $265.50                 $0                    $773,354.82            $21,900.62


Dated: July 3, 2018                              Respectfully submitted,


                                                 s/ Ben Barnow

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                                   CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a copy of the foregoing document was filed on July

3, 2018, with the Clerk of the Court by using the CM/ECF system which will send a notice of

filing to all counsel of record.




                                                   /s/ Anthony Parkhill




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